Case 1-18-42753-cec Doc9Q Filed 05/25/18 Entered 05/25/18 14:33:50

Debtorname Hunan Manor LLC

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK

 

Case number (ifknown) 18-42753

(1 Check if this is an
amended filing

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors ins

An Individual who is authorized to act on behalf of a nen-individual debtor, such a3 a corporation or partnership, must sign and submit this
form tor the echedules of assets and liabiiities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptey fraud is a serious crime. Making a faise statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can result In fines up to $600,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

TE 0-0 ose

1am the president, another officer, or an authorized agent of the corporation, a member of an authorized agent of the partnership; or another
individual! serving 2s a representative of the debtor in this case.

 

| have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 2064/8)

Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

Amended Schedule .

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not insiders (Official Form 204)
Other document that requires a deciaration

i declare under penalty of perjury that the foregoing is true and co .
Executed on May 24, 2018 x ; V. hong:

Signature of Widividual signing on behalf of debtor

 

DOO Mae

 

 

Zhida Li
Printed name

President
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-individual Debtors

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Debtorname Hunan Manor LLC

 

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 

Case number (ifknown) 18-42753

 

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Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals 12/15

 

Summary of Assets

1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

1a. Real property:
Copy line 88 from Schedule A/B......cccccccccssscsssssssssssssssesesesessssssssseessessssssesssesssessecseensssussciseeesesssnttstesesseeseeeeees $ 0.00

1b. Total personal property:
Copy line 91A from SCheGule A/B.i....ccccccccsessssessssssssssesssesssscesseesseecessecsuscesseecosseeniseessastesusecnneesnetessuneseneeeensenseeteey $ 83,898.02

1c. Total of all property:
Copy line 92 from Schedule A/B........c cc ccccecce cnet secee re eeceeeececeeessesisiesesssiseseisseeeecanscecseenesseneesntsiesensegsnenenensens $ 83,898.02

Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..........ccccct cece $ 0.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

3a. Total claim amounts of priority unsecured claims:

 

 

 

 

Copy the total claims from Part 1 from line 5a of Schedule E/F. oo... cece cesetstetes ene neeeeseseseneceeseneneretneeneese $ 0.00
3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F 0.0.0... ccc eneete ee eeeetereeee +$ 0.00
re re) e-|-t 8) | EES SEES SESE ET
Lines 2+ 3a + 3b $ 0.00
Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1

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Debtorname Hunan Manor LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 

Case number (ifknown) 18-42753

 

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Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

 

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
GEE Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

CI No. Go to Part 2.

WM Yes Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

 

 

 

 

 

 

 

 

 

 

 

 

 

3. Checking, savings, money market, or financial brokerage accounts (/dentify ail)
Name of institution (bank or brokerage firm) Type of account Last 4 digits of account
number
3.1. Cathy Bank Checking 3998 $28,398.02
4. Other cash equivalents (identify ail)
5. Total of Part 1. $28,398.02
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?
ONo. Go to Part 3.
Wl Yes Fill in the information below.
7. Deposits, including security deposits and utility deposits
Description, including name of holder of deposit
7.1. Commercial lease security deposit $45,000.00
8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
Description, including name of holder of prepayment
9. Total of Part 2. $45,000.00
Add lines 7 through 8. Copy the total to line 81.
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 4

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Debtor Hunan Manor LLC Case number (if known) 18-42753
Name

 

 

Accounts receivable
10. Does the debtor have any accounts receivable?

 

HE No. Go to Part 4.
C] Yes Fill in the information betow.

Investments
13. Does the debtor own any investments?

 

MI No. Go to Part 5.
C1 Yes Fill in the information below.

Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

 

C1 No. Go to Part 6.
@ Yes Fill in the information below.

General description Date of the last Net book value of Valuation method used Current value of
physical inventory debtor's interest for current value debtor's interest
(Where available)

19. Raw materials

Restaurant raw food and
beverage $0.00 $3,000.00

 

 

20. Work in progress

 

 

 

 

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5. $3,000.00
Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
HNo
0 Yes

25. Has any of the property listed in Part § been purchased within 20 days before the bankruptcy was filed?
BH No
© Yes. Book value Valuation method Current Value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
MINo
OF Yes

Farming and fishing-related assets (other than titled motor vehicles and land)

 

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

Mi No. Go to Part 7.
C1 Yes Fill in the information below.

Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

 

ME No. Go to Part 8.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 2
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Debtor Hunan Manor LLC Case number (if known) 18-42753

 

 

Name

0 Yes Fill in the information below.

Machinery, equipment, and vehicles

 

46. Does the debtor own or lease any machinery, equipment, or vehicles?

[J No. Go to Part 9.
@ Yes Fill in the information below.

General description Net book value of Valuation method used
Include year, make, model, and identification numbers debtor's interest for current value
(i.e., VIN, HIN, or N-number) (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,

floating homes, persona! watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
machinery and equipment)
Assorted used restaurant furniture, fixtures
and equipment $0.00

Current value of
debtor's interest

$7,500.00

 

 

51. Total of Part 8.
Add lines 47 through 50. Copy the total to line 87.

 

$7,500.00

 

 

52. Is a depreciation schedule available for any of the property listed in Part 8?
BNo
CO Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
HNo
2 Yes

Real property

 

54. Does the debtor own or lease any real property?

HE No. Go to Part 10.
D Yes Fill in the information below.

Part 10: Intangibles and intellectual property

 

59. Does the debtor have any interests in intangibles or intellectual property?

CI No. Go to Part 11.
@ Yes Fill in the information below.

General description Net book value of Valuation method used
debtor's interest for current value
(Where available)

Current value of
debtor's interest

 

 

60. Patents, copyrights, trademarks, and trade secrets
61. Internet domain names and websites
62. Licenses, franchises, and royalties
On-premise beer and wine license $0.00 Unknown
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3

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Debtor Hunan Manor LLC Case number (if known) 18-42753
Name
63. Customer lists, mailing lists, or other compilations
64. Other intangibles, or intellectual property
65. Goodwill
66. Total of Part 10. . $0.00
Add lines 60 through 65. Copy the total to line 89.
67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
MNo
C] Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
MNo
Oi Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
MNo
C) Yes

All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
Include ail interests in executory contracts and unexpired leases not previously reported on this form.

 

MI No. Go to Part 12.
C1 Yes Fill in the information below.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 4
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Debtor Hunan Manor LLC Case number (if known) 18-42753
Name

 

 

Part 12: Summary

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Type of property =. ee, Current value of Current value of real
ae : De : personal property property

80. Cash, cash equivalents, and financial assets.

Copy line 5, Part 7 $28,398.02
81. Deposits and prepayments. Copy line 9, Part 2. $45,000.00
82. Accounts receivable. Copy line 12, Part 3. $0.00
83. Investments. Copy line 17, Part 4. $0.00
84. Inventory. Copy line 23, Part 5. $3,000.00
85. Farming and fishing-related assets. Copy line 33, Part 6. $0.00
86. Office furniture, fixtures, and equipment; and collectibles. 0.00

Copy line 43, Part 7. _ «850,00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8. $7,500.00
88. Real property. Copy line 56, Part 9...0....cccccccccccccsesscssesssececssceecsecsersesessensessssesesessseseesseaesesseae > $0.00
89. Intangibles and intellectual property. Copy line 66, Part 10. $0.00
90. All other assets. Copy line 78, Part 11. + $0.00
91. Total. Add lines 80 through 90 for each column $83,898.02 | + 91b. $0.00
92. Total of all property on Schedule A/B. Add lines 91a+91b=92 $83,898.02
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 5

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Fill in this information to identify the case:

Debtorname Hunan Manor LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 

Case number (ifknown) 18-42753

 

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amended filing

 

 

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?
Hl No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
C Yes. Fill in all of the information below.

Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
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Fill in this information to identify the case:

Debtorname Hunan Manor LLC

 

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK

 

Case number (ifknown) 18-42753

 

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amended filing

 

 

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 1245

 

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

List All Creditors with PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
HF No. Go to Part 2.
0 Yes. Go to line 2.
List All Creditors with NONPRIORITY Unsecured Claims
3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill

out and attach the Additional Page of Part 2.
Amount of claim

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Baojun Tian
clo Troy Law O Contingent
41-25 Kissena Blvd BF unliquidated
Suite 119 WH Disputed

Flushing, NY 11355

| Basis for the claim:
Date(s) debt was incurred __ 7”

Last 4 digits of account number Is the claim subject to offset? Hino Dyes

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. Unknown
Guo Yong Zhu 0 contingent
c/o Lee Litigation Group Hl Uniiquidated
30 E. 39th Street, 2nd FL Bo;
New York, NY 10016 Disputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Mino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Guogiang Xu
clo Troy Law oO Contingent
41-25 Kissena Blvd WM Uniiquidated
Suite 119 MM pisputed

Flushing, NY 11355

. Basis for the claim:
Date(s) debt was incurred __ -

Last 4 digits of account number Is the claim subject to offset? Mino (ves

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai/ that apply. Unknown
Jian Cai
clo Troy Law 0 Contingent
41-25 Kissena Blvd Bi Uniiquidatea
Suite 119 W pisputed

Flushing, NY 11355

: Basis for the claim:
Date(s) debt was incurred __ _

Last 4 digits of account number ls the claim subject to offset? Hino Oves

 

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 3
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Case 1-18-42753-cec Doc9Q Filed 05/25/18 Entered 05/25/18 14:33:50

 

 

Debtor Hunan Manor LLC Case number (if known) 18-42753
Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Jixiang Wang
clo Troy Law oO Contingent
41-25 Kissena Blvd HB unliquidated
Suite 119 WH pisputed

Flushing, NY 11355

Date(s) debt was incurred _ Basis for the claim: _

Last 4 digits of account number Is the claim subject to offset? Ml No [1 yes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai! that apply. Unknown
Lianhe Zhou
clo Troy Law O Contingent
41-25 Kissena Blvd BB unliquidated
Suite 119 I bisputed

Flushing, NY 11355

Basis for the claim:
Date(s) debt was incurred _ asis toring claim: __

Last 4 digits of account number Is the claim subject to offset? Ml No Cyes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
Min Jiang
clo Troy Law CO Contingent
41-25 Kissena Blvd WH unliquidated
Suite 119 @ Disputed

Flushing, NY 11355

Basis for the claim:
Date(s) debt was incurred _ me

Last 4 digits of account number Is the claim subject to offset? Mino Ces

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
Ming Da Ke
clo Troy Law Oo Contingent
41-25 Kissena Blvd WB untiquidated
Suite 119 @ Disputed

Flushing, NY 11355

Basis for the claim:
Date(s) debt was incurred __ ast ms

Last 4 digits of account number Is the claim subject to offset? MI No [1 Yes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai! that apply. Unknown
Qifang Chen
clo Troy Law oO Contingent
41-25 Kissena Blvd HF Uniiquidated
Suite 119 I bisputed

Flushing, NY 11355

Basis for the claim:
Date(s) debt was incurred _ * ms

Last 4 digits of account number Is the claim subject to offset? Mno Oves

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Shi Ming Chen
clo Troy Law CZ Contingent
41-25 Kissena Blvd B Uniiquidated
Suite 119 Disputed

Flushing, NY 11355

Basis for the claim:
Date(s) debt was incurred __ asis tor me

Last 4 digits of account number Is the claim subject to offset? Mno Oves

 

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 3
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Case 1-18-42753-cec Doc9Q _ Filed 05/25/18 Entered 05/25/18 14:33:50
Debtor Hunan Manor LLC Case number (if known) 18-42753
Name
3.11 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Shiqiang Gao
clo Troy Law oO Contingent
41-25 Kissena Blvd BB untiquidated
Suite 4 19 a Disputed
Flushing, NY 11355
Basis for the claim:
Date(s) debt was incurred _ asis forthe claim: _
Last 4 digits of account number Is the claim subject to offset? Hino Oves
[312_ | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
Wei Min Zhu
clo Troy Law O Contingent
41-25 Kissena Blvd WH uniiquidated
Suite 1 19 a Disputed
Flushing, NY 11355
Basis for the claim:
Date(s) debt was incurred _ asis for the claim: _
Last 4 digits of account number Is the claim subject to offset? Mno Oves
3.13 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Xinlong Liu
clo Troy Law oO Contingent
41-25 Kissena Blvd HF unliquidated
Suite 4 19 a Disputed
Flushing, NY 11355
Basis for the claim:
Date(s) debt was incurred _ asis Forine claim: _
Last 4 digits of account number Is the claim subject to offset? a No Dyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown

Yong Kang Liu

c/o Troy Law

41-25 Kissena Blvd
Suite 119

Flushing, NY 11355

Date(s) debt was incurred _

Last 4 digits of account number _

oO Contingent

WH Untiquidated

a Disputed

Basis forthe claim: __

Is the claim subject to offset? a No Dyes

 

List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Name and mailing address

On which line in Part1 or Part 2 is the

related creditor (if any) listed?

Last 4 digits of
account number, if

 

5c. Total of Parts 1 and 2

 

any
Total Amounts of the Priority and Nonpriority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims.
Total of claim amounts.
5a. Total claims from Part 1 5a. $ 0.00
5b. Total claims from Part 2 5b. + $ 0.00
Lines 5a + 5b = 5c. Sc. $ 0.00

Official Form 206 E/F
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Schedule E/F:

 

 

 

 

Creditors Who Have Unsecured Claims

Page 3 of 3

Best Case Bankruptcy
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Debtorname Hunan Manor LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 

Case number (ifknown) 1418-42753

 

 

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Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/45

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
(1 No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

@ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal Property
(Official Form 206A/B).

2. List all contracts and unexpired leases State the name and mailing address for ali other parties with
whom the debtor has an executory contract or unexpired
lease

2.1. State what the contract or Commercial Lease

lease is for and the nature of
the debtor's interest

State the term remaining ABC Ent i I
nterprises, Inc.

 

 

List the contract number of any 399 Lexington Avenue
government contract New York, NY 10016
Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

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Debtorname Hunan Manor LLC

 

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 

Case number (ifknown) 18-42753

 

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Official Form 206H
Schedule H: Your Codebtors 12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

1. Do you have any codebtors?

W@ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
O Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Codebtor Column 2: Creditor
Name Mailing Address Name Check all schedules
that apply:
2.1 D
Street 0 E/F
OG
City State Zip Code
2.2 ob
Street 0 E/F
OG
City State Zip Code
2.3 OD
Street 0 E/F
OG
City State Zip Code
2.4 OD
Street 0 E/F
OG
City State Zip Code
Official Form 206H Schedule H: Your Codebtors Page 1 of 1

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Fill in this information to identify the case:

Debtorname Hunan Manor LLC

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 

Case number (if known) 18-42753

 

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amended filing

 

 

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).

Income

1. Gross revenue from business

 

 

02 None.

Identify the beginning and ending dates of the debtor’s fiscal year, Sources of revenue Gross revenue

which may be a calendar year Check ail that apply (before deductions and
exclusions)

For year before that: HH Operating a business $1,167,752.00

From 1/01/2016 to 12/31/2016
0 Other

 

2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,

and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

@ Nore.

Description of sources of revenue Gross revenue from
each source
(before deductions and
exclusions)

List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers—including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
and every 3 years after that with respect to cases filed on or after the date of adjustment.)

Mi None.

Creditor's Name and Address Dates Total amount of value Reasons for payment or transfer
Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

Mf None.

Insider's name and address Dates Total amount of value Reasons for payment or transfer
Relationship to debtor .

5. Repossessions, foreclosures, and returns
Official Form 207 Statement of Financial Affairs for Non-Individuals Fiting for Bankruptcy page 1

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List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

@ None

Creditor's name and address Describe of the Property Date Value of property

6. Setoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
debt.

HE None

Creditor's name and address Description of the action creditor took Date action was Amount
taken

Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
in any capacity—within 1 year before filing this case.

O None.
Case title Nature of case Court or agency's name and Status of case
Case number address

7.1. Chen et al v Hunan Manor et FLSA SDNY HM Pending
al C1 On appeal
17-¢v-802 O Concluded

 

8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
receiver, custodian, or other court-appointed officer within 1 year before filing this case.

i None

Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
the gifts to that recipient is less than $1,000

Hi None

Recipient's name and address Description of the gifts or contributions Dates given Value

Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

Mi None
Description of the property lost and Amount of payments received for the loss Dates of loss Value of property
how the loss occurred lost

If you have received payments to cover the loss, for
example, from insurance, government compensation, or
tort liability, list the total received.

List unpaid claims on Official Form 106A/B (Schedule
A/B: Assets — Real and Personal Property).

EH Certain Payments or Transfers

11. Payments related to bankruptcy
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List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
telief, or filing a bankruptcy case.

Ci None.
Who was paid or who received If not money, describe any property transferred Dates Total amount or
the transfer? value
Address

11.1. Morrison Tenenbaum PLLC
87 Walker Street, Second
Floor
New York, NY 10013 $0.00

 

Email or website address

 

Who made the payment, if not debtor?

 

12. Self-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
to a self-settled trust or similar device.
Do not include transfers already listed on this statement.

None.

Name of trust or device Describe any property transferred Dates transfers Total amount or
were made value

13. Transfers not already listed on this statement
List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

Hl None.
Who received transfer? Description of property transferred or Date transfer Total amount or
Address payments received or debts paid in exchange was made value

Previous Locations

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

MI Does not apply

Address Dates of occupancy
From-To

Health Care Bankruptcies

 

15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?

HM No. Go to Part 9.
C1 Yes. Fill in the information below.

Facility name and address Nature of the business operation, including type of services If debtor provides meals
the debtor provides and housing, number of
patients in debtor's care
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Personally identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

M@ No.
O Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

M@ No. Go to Part 10.
{1 Yes. Does the debtor serve as plan administrator?

mumitee Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor’s benefit, closed, sold,
moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
cooperatives, associations, and other financial institutions.

Hl None
Financial Institution name and Last 4 digits of Type of account or Date account was Last balance
Address account number instrument closed, sold, before closing or
moved, or transfer
transferred

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
case.

None

Depository institution name and address Names of anyone with Description of the contents . Do you still
access to it have it?
Address

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

HI None
Facility name and address Names of anyone with Description of the contents Do you still
access to it have it?
Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another

List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
not list leased or rented property.

Mi None

<umeae Details About Environment information

For the purpose of Part 12, the following definitions apply:
Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
medium affected (air, land, water, or any other medium).

Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
owned, operated, or utilized.

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Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

M@ No.

C] Yes. Provide details below.

Case title Court or agency name and Nature of the case Status of case
Case number address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

M@ No.

0 Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

24, Has the debtor notified any governmental unit of any release of hazardous material?

HM No.

O Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

muskee Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest

List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

Mi None

Business name address Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

Dates business existed

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

CO None
Name and address Date of service
From-To
26a.1. Atta Accounting and Tax Services 2015 - Present

13620 38th Ave, Ste 9G
Flushing, NY 11354

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
within 2 years before filing this case.

None

26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

@ None
Name and address lf any books of account and records are
unavailable, explain why
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 5

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26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

Mi None
Name and address

27. Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

HM No

1 Yes. Give the details about the two most recent inventories.
Name of the person who supervised the taking of the Date of inventory The doliar amount and basis (cost, market,
inventory or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
in control of the debtor at the time of the filing of this case.

 

 

 

Name Address Position and nature of any % of interest, if
interest any
Peng Xie 4332 Kissena Blvd, Apt 4D 30%
Flushing, NY 11355
Name Address Position and nature of any % of interest, if
interest any
Xiangyun Ni 4332 Kissena Blvd, Apt 4D 30%
Flushing, NY 11355
Name Address Position and nature of any % of interest, if
interest any
Zhida Li 13408 60 Ave 20%
Flushing, NY 11355
Name Address Position and nature of any % of interest, if
interest any
Jing Chao Li 13408 60 Ave 20%

Flushing, NY 11355

 

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

M@ No
O Yes. identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
loans, credits on loans, stock redemptions, and options exercised?

@ No
Ol Yes. Identify below.
Name and address of recipient Amount of money or description and value of Dates Reason for
property providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

M@ No
O Yes. identify below.

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Debtor Hunan Manor LLC ‘ Case number (tinown) 18-42753
Name of the parent corporation Employer Identification number of the parent
corporation
32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a persion fund?
@ No
C1 Yes. identify below.
Name of the pension fund Employer identification number of the parent
corporation
EEXEERE Signature and Deciaration

 

WARNING — Bankruptcy fraud is a serious crime. Making a faise statement, concealing property, or obtaining money of property by fraud in
connection with a bankruptcy case car result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable befief that the information is true
and correct.

{ declare under penalty of perjury that the foregoing is true and correct.
Executed on

  

a Zhida Li
Signature of ix signing on befiaif of the debtor Printed name
Position or relationship to debtor = President
Are additional pages to Statement of Financial Affairs for Non-individuals Filing for Bankruptcy (Official Form 207) attached?
No
1 Yes

Offictal Form 207 Statement of Financial Affairs for Non-individuals Filing for Bankruptcy page 7
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United States Bankruptcy Court
Eastern District of New York
Inre _ Hunan Manor LLC Case No. — 18-42753
Debtor(s} Chapter "1

AFFIDAVIT PURSUANT TO LOCAL RULE 1007-1(B)
Hunan Manor LLC, undersigned debtor herein, swears as follows:
1. Debtor filed a petition under chapter 11 of the Bankruptcy Code on May 11,2018.

2. Schedule(s) A, B, D, E, F_G, H were not filed at the time of filing of the said petition, and is/are being filed
herewith.
3. [Check applicable box):
Wi The schedules filed herewith reflect no additions or corrections to, or deletions from, the list of creditors
which accompanied the petition.

ia Annexed hereto is a listing of names and addresses of scheduled creditors added to or deleted from the list
of creditors which accompanied the petition. Also listed, as applicable, are any scheduled creditors whose
previously listed names and/or addresses have been corrected, The nature of the change (addition,
deletion or correction) is indicated for each creditor listed.

4, Uf creditors have been added) An ameaded mailing matrix is annexed hereto, listing added creditors ONLY, in
the format prescribed by Local Rule 1007-3.

Reminder: No amendment Of schedules is effective until Proof of service in accordance with EDNY LER 1009-1(6) has
been filed with the Court.

 

hearing if no objection is filed with the Court and served on debtor within 10 days following filing of proof of service of
this affirmation, all attachments and the amended schedules in accordance with EDNY LRB 1009-1.

Ie zhes
Zhida

Debtor (signature)

Dated: May 24, 2018

Swom to before me this ast

 
  

N ic. State of New York
LAWRENCE F-. MORRISON

Notary Public, State of New York
Registration #02MO06059654
Qualified In New York County

Commission Expires July 28, 2049

      
     
  

 

   

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